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Case: 14-1952

United States Court of Appeals
For the First Circuit

Designation of Attorney Presenting Oral Argument

Counsel who intend to present oral argument to the court must file this form no later
than two weeks prior to oral argument.

Counsel presenting oral argument must be admitted to practice before this court and must

have entered an appearance in the case. Counsel who have not entered an appearance must file
an appearance and a motion for leave pursuant to Loc. R. 12.0(a) with this designation.

Appeal No.: 14-1952

Case Name: Lopez et al v City of Lawrence, Massachusetts et al

Date of Argument: October 7, 2015
Location of Argument: Boston [| Puerto Rico [| Other:

Name and appellate designation of the party(ies) you will be arguing on behalf of:
City of Methuen, Massachusetts and William Manzi, IIT in his capacity as Mayor of the City of Methuen

Attorney Name: Kerry Regan Jenness First Circuit Bar No.: 87787

Phone Number: 978-983-8575 Fax Number: 978-983-898 1

Email: krjenness(@ci.methuen.ma.us

Check the box that applies:
I have already filed an appearance in this matter.

[| I am filing my appearance form and a motion in accordance with Loc. R. 12.0(a)
contemporaneously with this form.

Pret

i (Signature) (Date)

PLEASE NOTE: Only arguing counsel will be notified by phone when the opinion is released.
